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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )
            v.                              )       No. S1-4:07 CR 175 JCH
                                            )                          DDN
MICHAEL SHANAHAN, SR.,                      )
MICHAEL SHANAHAN, JR., and                  )
GARY C. GERHARDT,                           )
                                            )
                     Defendants.            )

                            REPORT AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE
     Before       the   court    are   certain   motions   of    defendants    Michael
Shanahan, Sr., Michael Shanahan, Jr., and Gary C. Gerhardt, to dismiss
the original and superseding indictments (Docs. 38, 39, 106).                    These
motions were referred to the undersigned United States Magistrate Judge
pursuant to 28 U.S.C. § 636(b).
                           I.     SUPERSEDING INDICTMENT
     The superseding indictment charges defendants Michael Shanahan,
Sr., Michael Shanahan, Jr., and Gary C. Gerhardt, with conducting a
scheme to defraud shareholders of Engineered Support Systems, Inc.
(ESSI) and the investing public between 1996 and August 2006.                 (Doc. 52
at ¶ 10.)    During that time, the defendants were corporate officers of
ESSI, a publicly traded company. 1          (Id. at ¶¶ 1, 2.)      Michael Shanahan,
Sr., served as the Chief Executive Officer of ESSI, Gary Gerhardt served
as the Chief Financial Officer, and Michael Shanahan, Jr., served as a
member of the Board of Directors and as a member of the Compensation
Committee.       ( Id. at ¶ 1.)
     The superseding indictment allegations describe the purpose and
process for issuing stock options, and notes the reporting requirements
governing publicly traded companies.             (Id. at ¶¶ 4-9.)       In describing
the scheme to defraud, the superseding indictment charges the defendants
with backdating stock options - misrepresenting to the public the values


     1
      In January 2006, ESSI was purchased by DRS Technologies, Inc.
(Doc. 52 at ¶ 2.)
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at which the options were granted.               ( Id. at ¶ 10.)        In the backdating
of the options,         the superseding         indictment    alleges     the defendants
received illicit proceeds, failed to report the illicit proceeds as
taxable income, caused ESSI to understate its compensation expenses and
overstate     its    net      income,    and     deprived     investors        of   accurate
compensation information.            ( Id. at ¶ 11.)
         The superseding indictment's allegations describe the dates and
stock prices corresponding to the backdating scheme.                  (Id. at ¶¶ 14-17.)
As   a    consequence    of    the    scheme    involving    option      backdating,     the
superseding indictment alleges the defendants filed documents with the
Securities and Exchange Commission (SEC), which contained materially
false statements.       (Id. at ¶¶ 18-22.)           These SEC filings, along with the
backdating scheme, form the foundation of each of the twelve counts
against the defendants.
         In Count I, the superseding indictment charges the defendants with
conspiracy to create false records, make false statements in documents
filed with the SEC, and commit mail and wire fraud against ESSI, DRS
Technologies, and the shareholders and investing public of each company,
all in violation of 18 U.S.C. § 371.                 (Id. at ¶¶ 23-25.)        In Count II,
the superseding indictment charges the defendants with creating false
corporate records of ESSI, in violation of 15 U.S.C. § 78m(b)(2) and 18
U.S.C. § 2.         (Id. at ¶¶ 26-27.)               In Counts III, IV, and V, the
superseding     indictment       charges       the    defendants   with     making      false
statements in documents filed with the SEC, in violation of 15 U.S.C.
§ 78ff and 18 U.S.C. § 2.            (Id. at ¶¶ 28-33.)      In Counts VI, VII, VIII,
and IX, the superseding indictment charges the defendants with mail
fraud, in violation of 18 U.S.C. §§ 1341, 1346, and 18 U.S.C. § 2.                       (Id.
at ¶¶ 34-41.)        Finally, in Counts X, XI, and XII, the superseding
indictment charges the defendants with wire fraud, in violation of 18
U.S.C. §§ 1343, 1346, and 18 U.S.C. § 2.                 ( Id. at ¶¶ 42-47.)


                               II.    MOTIONS TO DISMISS
         The defendants       move to dismiss the superseding              indictment      as
legally     insufficient      because    of     fatal    defects   in    the    grand   jury



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proceedings (Doc. 38) and because of ambiguity in the underlying
accounting pronouncements (Docs. 39, 106). 2
     To be legally sufficient on its face, the indictment, in a plain,
concise, and definite written statement, must contain all the essential
elements of each offense charged, must fairly inform the defendant of
the charges against which he must defend, and must allege sufficient
information to allow the defendant to plead a conviction or an acquittal
as a bar to a future prosecution.            See U.S. Const. amends. V and VI;
Fed. R. Crim. P. 7(c)(1); Hamling v. United States, 418 U.S. 87, 117
(1974); United States v. Sewell, 513 F.3d 820, 821 (8th Cir. 2008).                     An
indictment should not be read in a hyper-technical fashion; it should
be deemed sufficient “unless no reasonable construction can be said to
charge the offense.”      United States v. O’Hagan, 139 F.3d 641, 651 (8th
Cir. 1998).    An indictment is normally sufficient if its language tracks
the language of the relevant statute.                Sewell, 513 F.3d at 821.           In
determining     whether   an   indictment       is    subject    to     dismissal,     the
allegations contained in the indictment are accepted as true.                     United
States v. Farm & Home Sav. Ass’n , 932 F.2d 1256, 1259 n.3 (8th Cir.
1991).


                                III.    DISCUSSION
                          A.   Grand Jury Proceedings
     Defendant Gerhardt argues that the government failed to request and
present exculpatory evidence to the grand jury. He argues this omission
misled   and   misinformed     the   grand      jury,   and     was    the   product    of
unintentional     prosecutorial        misconduct.         Had        this   exculpatory
information    been presented to the grand jury, Gerhardt claims the
indictment would not have been returned.              Indeed, he argues there was
insufficient competent evidence to support the indictment, and urges the
court to dismiss the indictment.         (Doc. 41.)



     2
      Defendants' motions to dismiss the indictment because of a
conflict of interest (Docs. 44 under seal, 112 under seal) and for an
evidentiary hearing on the conflict issue (Doc. 112 under seal) will be
treated in a separate Report and Recommendation.


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      To dismiss an indictment on grounds of prosecutorial misconduct,
the defendant must show that misconduct substantially influenced the
grand jury’s decision to indict, or that there is a grave doubt as to
whether the decision to indict was free from substantial influence of
prosecutorial misconduct.          Bank of Nova Scotia v. United States, 487
U.S. 250, 259, 263 (1988).              The defendant must also show he was
prejudiced by the misconduct.           Id. at 263.
      The grand jury serves as a buffer or referee between the government
and the people.       United States v. Williams, 504 U.S. 36, 47 (1992).            In
this role, nevertheless, the grand jury is not an adjudicatory body -
it is an accusatory body.          Id. at 51.      It sits “not to determine guilt
or innocence, but to assess whether there is adequate basis for bringing
a   criminal    charge.”     Id.        Given   this   function,   a   suspect   under
investigation does not have the right to testify before the grand jury
or to have exculpatory evidence presented on his behalf.                  Id. at 52.
Requiring      the   prosecutor    to    present    exculpatory    evidence   in   his
possession “would be incompatible with [the grand jury] system.”                   Id.
      Defendant Gerhardt argues that the government failed to request and
present exculpatory evidence to the grand jury.               Under Williams, the
government has no obligation to present exculpatory evidence to the
grand jury.          Id.   As a result, the grand jury is not misled or
misinformed when the prosecutor fails to disclose exculpatory evidence.
See United States v. Mahalick , 498 F.3d 475, 479-80 (7th Cir. 2007).
      Defendant Gerhardt also argues there was insufficient competent
evidence to support the indictment.             Looking to the history and purpose
of the grand jury system, this argument fails. “[P]ermitting defendants
to challenge indictments on the ground that they are not supported by
adequate or competent evidence . . . would run counter to the whole
history of the grand jury institution, in which laymen conduct their
inquiries unfettered by technical rules.”               Costello v. United States,
350 U.S. 359, 364 (1956).          A contrary rule would allow defendants to
insist on a preliminary trial to determine the adequacy of the evidence
before the grand jury, creating             incalculable     delay.     Id. at 363.
Federal courts are not permitted to test the evidence supporting an
indictment from an unbiased grand jury.                United States v. Adamo, 742


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F.2d 927, 939 (6th Cir. 1984); United States v. Williams, No. CR 406-
186, 2006 WL 3218704, at *1 (S.D. Ga. Nov. 3, 2006).                     An indictment,
valid on its face and returned by an unbiased grand jury, is “immune
from attack by a claim that there was insufficient competent evidence
presented to the grand jury.”         United States v. Johnson, No. 4:05 CR 719
CEJ MLM, 2006 WL 156712, at *2 (E.D. Mo. Jan. 20, 2006), adopted by, No.
4:05 CR 719 CEJ (E.D. Mo. Feb. 6, 2006).
        Grand   jury   proceedings    are   afforded      a     strong   presumption   of
regularity, and a defendant faces a heavy burden to overcome this
presumption.      United States v. Wadlington, 233 F.3d 1067, 1073 (8th Cir.
2000).    In this case, defendant Gerhardt does not claim the grand jury
was biased and does not attack the superseding indictment on its face.
Instead, he speculates that, had exculpatory information been presented,
the grand jury would not have returned the indictment.                   As noted above,
the prosecutor has no obligation to present exculpatory evidence to the
grand jury, and a federal court may not test the evidence supporting an
indictment returned by an unbiased grand jury.
        The motion to dismiss the superseding indictment because of fatal
defects in the grand jury proceedings should be denied.


                B.   Accounting Principles Board Opinion No. 25
        The     defendants    attack        the    superseding           indictment    as
unconstitutionally vague.       They argue that Accounting Principles Board
Opinion No. 25 (APB 25) serves as the foundation of the prosecution’s
case, and that the government could not have charged the defendants
without relying on APB 25.           Defendants argue that, since APB 25 is a
vague and ambiguous standard, the prosecution cannot use the rule as the
basis for criminal liability, and the indictment therefore must be
dismissed.      In support of this position, the defendants point to the
SEC’s    subsequent     clarification       of    APB     25,     asserted    widespread
misapplication of APB 25 by various corporations, and the decision In
re Sportsline.com Securities Litigation .               (Docs. 40, 110, 129, 148.)




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Background on Stock Options
     On March 18, 2006, the Wall Street Journal published an article
analyzing how certain companies were granting stock options to their
executives.    See Charles Forelle and James Bandler, The Perfect Payday,
Wall St. J., March 18, 2006, at A1; (Doc. 110, Ex. 15.)                According to
the article, companies issued a suspiciously high number of options at
times when the stock price hit a periodic low and then was followed by
a sharp price increase.        In re Zoran Corp. Derivative Litig., 511 F.
Supp. 2d 986, 996 (N.D. Cal. 2007).       The odds of these well-timed grants
occurring by chance alone were astronomical - less likely than winning
the lottery.      Id. “Eventually it was determined that such buy-low-sell-
high returns simply could not be the product of chance.”               Id.
     In testimony before the United States Senate Committee on Banking,
Housing,    and    Urban   Affairs,   Professor      Erik   Lie   identified       three
potential   strategies     to account    for these well-timed stock option
grants.     (Doc.    110, Ex. 11 at 4.)           The first strategy included
techniques called “spring-loading”         and “bullet-dodging.”             Id.     The
practice of “spring-loading” involved timing a stock option grant to
immediately precede an announcement of good news.             Id.   The practice of
“bullet-dodging” involved timing a stock option grant to immediately
follow an announcement of bad news.            Id.    A second strategy included
manipulating the flow of information - timing corporate announcements
to match known future grant dates.        Id.     A third strategy, backdating,
involved cherry-picking past, and relatively low, stock prices to be the
official grant date.       Id.; see also In re CNET Networks, Inc., 483 F.
Supp. 2d 947, 950 (N.D. Cal. 2007) (“Backdating occurs when the option’s
grant date is altered to an earlier date with a lower, more favorable
price to the recipient.”).
     A company grants stock options to its officers, directors, and
employees at a certain “exercise price,” giving the recipient the right
to buy shares of the stock at that price, once the option vests.                   In re
Zoran, 511 F. Supp. 2d at 996.        If the stock price rises after the date
of the grant, the options have value.           Id.     If the stock price falls
after the date of the grant, the options have no value.                Id.     Options
with an exercise price equal to the stock’s market price are called “at-


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the-money” options.        Id.     Options with an exercise price lower than the
stock’s market price are called “in-the-money” options.                            Id.      By
granting       “in-the-money” options, or backdated options, a company
effectively grants an employee an instant opportunity for profit.                           In
re Openwave Sys. Sec. Litig., 528 F. Supp. 2d 236, 241 (S.D.N.Y. 2007).
        Granting backdated options has important accounting consequences
for the issuing company.              Id.        “For financial reporting purposes,
companies granting in-the-money options have to recognize compensation
expenses equal to the difference between the market price and the
exercise price.”         In re Zoran, 511 F. Supp. 2d at 996.                APB 25 is the
accounting rule that governed stock-based compensation (through June
2005), and which required companies to recognize this compensation
expense for backdated options.              In re Openwave, 528 F. Supp. 2d at 242.
For options granted at-the-money, a company did not have to recognize
any compensation expenses under APB 25.                   Id.; In re Zoran, 511 F. Supp.
2d at 996.
        Backdating stock options is not illegal.                  As the SEC Commissioner
Paul Atkins explained, “the mere fact that options were backdated does
not mean that the securities laws were violated.                   Purposefully backdated
options that are properly accounted for and do not run afoul of the
company’s public disclosure are legal.”                 (Doc. 110, Ex. 1 at 6.) On the
other       hand,   fraudulent       backdating,          or    backdating   options      “in
contravention       of   the     company’s       public      disclosure   [and]   to     avoid
recognizing compensation expenses” is fraud.                    (See id.); see also In re
CNET    Networks,    483    F.    Supp.     2d    at   956     (“Intentionally    employing
hindsight to adjust the grant date to an advantageously low price, or
‘backdating,’ is fraud.”). 3
        A motive for fraudulent backdating may be to avoid recognizing a
compensation expense, or a “hit to the earnings,” all the while awarding



        3
      The term “backdating” seems to have been given varying
definitions. For purposes of clarity, this memorandum opinion will use
the term “innocent backdating” to refer to in-the-money options that
have been properly accounted for and which do not run afoul of a
company’s public disclosure. The opinion will use the term “fraudulent
backdating” to refer to in-the-money options that have not been properly
accounted for and which run afoul of a company’s public disclosure.

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in-the-money options.     In re Zoran, 511 F. Supp. 2d at 996; In re CNET
Networks, 483 F. Supp. 2d at 956.             To accomplish the fraud, those
responsible assign an earlier date to the stock options - a date where
the stock price was attractively low - and pretend the option was
awarded    on that earlier date, rather than the real date.        In re Zoran,
511 F. Supp. 2d at 996-97.        In other words, fraudulent backdating
disguises in-the-money options (which require recognizing compensation
expenses) as at-the-money options (which do not require recognizing
compensation expenses).     See id.    The paperwork and phony grant dates
allow the company to avoid compensation expenses, all the while aware
that the “price on the true grant date, of course, is higher than the
price on the phony grant date.”       Id. at 997.
       After 2002, a company’s ability to fraudulently backdate option
grants became much more difficult.       In re Openwave, 528 F. Supp. 2d at
242 n.3.    On August 29, 2002, Congress passed the Sarbanes-Oxley Act,
which instituted new reporting requirements for stock option grants.
Id.    Before Sarbanes-Oxley, an employee who received a stock option
grant had to file financial forms with the SEC within forty-five days
after the company’s fiscal year end.           Id.   After Sarbanes-Oxley, an
employee must file financial forms with the SEC within two days of
receiving the stock option grant.       Id.    After Sarbanes-Oxley, a company
fraudulently backdating stock options by a few weeks or months would not
have the required SEC forms filed on time, raising red flags with the
SEC.   In re Zoran, 511 F. Supp. 2d at 1006.


Vagueness Challenge
       In this case, the defendants argue that APB 25 is so vague and
ambiguous that the application of the federal criminal statutes in the
superseding indictment would violate due process.
       The void for vagueness doctrine stems from the Due Process Clause
of the Fifth Amendment.    U.S. Const. amend. V; Connally v. Gen. Constr.
Co., 269 U.S. 385, 391 (1926).        Under the doctrine, “a statute which
either forbids or requires the doing of an act in terms so vague that
men of common intelligence must necessarily guess at its meaning and
differ as to its application violates the first essential of due process


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of law.”    Connally, 269 U.S. at 391.   Criminal laws must give the person
of ordinary intelligence a reasonable opportunity to know what conduct
is prohibited.     United States v. Washam, 312 F.3d 926, 929 (8th Cir.
2002).    “[N]o man shall be held criminally responsible for conduct which
he could not reasonably understand to be proscribed.”       United States v.
Lanier, 520 U.S. 259, 265 (1997).
       To determine whether the legal basis for a criminal prosecution is
unconstitutionally vague, the court must determine whether the legal
standard: (1) provides adequate notice of the proscribed conduct, and
(2) does not lend itself to arbitrary enforcement.       Washam, 312 F.3d at
929.     A legal standard may be unconstitutionally vague on its face, or
as applied to a particular circumstance.        United States v. Forbes, 806
F. Supp. 232, 237 (D. Colo. 1992).       Vagueness challenges that do not
involve the First Amendment must be examined “in the light of the facts
of the case at hand.”      United States v. Mazurie , 419 U.S. 544, 550
(1975); Washam, 312 F.3d at 929.


APB 25
       As noted above, a company granting at-the-money options did not
have to recognize a compensation expense.       In re Zoran, 511 F. Supp. 2d
at 996.     But a company granting in-the-money options had to recognize
compensation expenses equal to the difference between the market price
and the exercise price.     Id.; In re CNET Networks, 483 F. Supp. 2d at
955.     While the company sets the exercise price, the market price is
determined by looking to the option’s “measurement date.”          In re CNET
Networks, 483 F. Supp. 2d at 949, 955.           Paragraph 10(b) of APB 25
defines the measurement date.     Id. at 955.    According to APB 25.10(b),
       The measurement date for determining compensation cost in
       stock option, purchase, and award plans is the first date on
       which are known both (1) the number of shares that an
       individual employee is entitled to receive and (2) the option
       or purchase prices, if any. That date for many or most plans
       is the date an option or purchase right is granted or stock
       is awarded to an individual employee. . . . However, the
       measurement date may be later than the date of grant or award
       in plans with variable terms that depend on events after date
       of grant or award.



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        Thus a corporation recognizes compensation cost for stock
        issued through compensatory plans unless the employee pays
        an amount that is at least equal to the quoted market price
        of the stock at the measurement date.

(Doc. 110, Ex. 2 at 5.)
        To be sure, the definition of measurement date may be unclear in
some situations.      In re CNET Networks, 483 F. Supp. 2d at 955; see also
United States v. Reyes, No. C 06-556 CRB, 2007 WL 1574540, at *3 (N.D.
Cal. May 30, 2007) (“[T]he precise timing of a grant is not always easy
to discern.”).      Indeed, on September 19, 2006, the Chief Accountant of
the SEC, Conrad Hewitt, issued a letter identifying a few instances
where a company could use the wrong measurement date without rising to
the level of fraud.     In re CNET Networks, 483 F. Supp. 2d at 955; (Doc.
110, Ex. 13.)       For instance, administrative delays, oral approval of
grants, grants to still-unknown recipients, or grants to recently hired
employees could all lead to confusion about the correct measurement
date.    (Doc. 110, Ex. 13); Reyes, 2007 WL 1574540, at *3; In re CNET
Networks, 483      F. Supp.    2d at 955.          That   being      said, “[i]n most
instances, the determination of the measurement date of a stock option
involves little or no uncertainty.”            (Doc. 110, Ex. 13 at 4.)
        In this case, the undersigned believes that APB 25 is not so
ambiguous or vague that the superseding indictment should be dismissed.
The superseding indictment alleges the defendants engaged in a scheme
to fraudulently backdate stock options, so that the options would be in-
the-money when issued, despite public representations that the options
were issued at-the-money.           (Doc. 52 at ¶ 10.)               Because of these
misrepresentations, the superseding indictment alleges that ESSI’s total
compensation      expenses   were   understated,      while    its    net   income   was
overstated.       (Id. at ¶ 11.)     The superseding indictment alleges the
defendants fraudulently backdated options on at least eight occasions.
(Id. at ¶ 14.)
        On these occasions, the defendants are alleged to have approved
stock    option   awards, selected exercise dates that corresponded to
periodic lows in the stock prices, and then “caused administrative
assistants to backdate award letters enclosing stock options, making it
appear as though the options had been sent on earlier dates.”                   (Id. at

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¶ 15.)       In other words, the superseding indictment alleges that the
defendants issued themselves in-the-money options, and then disguised
those options as at-the-money options by having assistants assign
earlier, and phony, grant dates to the award letters.                  The superseding
indictment alleges that Shanahan, Sr. signed the stock options and the
award letters.       ( Id.)
       The superseding indictment further alleges that the defendants
caused ESSI to file several documents with the SEC that contained false
statements.       (Id. at ¶ 18.)     According to the superseding indictment,
these documents and reports “falsely stated that the Company’s options
were issued ‘at the money’ when, in truth and fact, the options were
issued ‘in the money’. . . .”        (Id.)      The superseding indictment alleges
that ESSI’s registration statements, filed with the SEC, specifically
stated that the company’s stock options “were granted, or would be
granted, ‘at the money.’” ( Id. at ¶ 22.)
       In the context of these allegations, the superseding indictment
charges the defendants with conspiracy, creating false records, making
false statements in SEC filings, mail fraud, and wire fraud.                    ( Id. at
¶¶ 23-47.)        The superseding indictment does not charge the defendants
with violating APB 25. The superseding indictment does even mention APB
25.    (See id.)4
       Nonetheless, the indictment implicitly relies on APB 25, because
APB 25 is the rule that compelled companies to account for compensation
expenses for in-the-money grants.            APB 25 is also the rule that allowed
companies not to account for compensation expenses for at-the-money
grants - which provided one of the incentives for fraudulent backdating.
This       does   not,   however,    mean      the    superseding      indictment     is
unconstitutionally       vague.     In      this   case,   the   allegations    in   the
superseding indictment do not fall anywhere near the type of situations
that could produce unclear measurement dates.               “Whatever ambiguity may
exist in APB 25, it is not possible to construe the rule’s language as



       4
      A grand jury indictment does not have to allege a violation of
accounting principles when alleging securities fraud. United States v.
Ebbers, No. S4 02 CR 1144 (BSJ), 2005 WL 22878, at *1 (S.D.N.Y. Jan. 4,
2005), aff’d, 458 F.3d 110 (2d Cir. 2006).

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permitting the deliberate retroactive selection of a particular grant
date   and   the   intentional    concealment        of    the   date    on       which    that
retroactive      selection was made.”         Reyes, 2007 WL 1574540,                 at *3.
Clearly    APB   25   prohibits   companies     from      deliberately        choosing      an
exercise price based on a historic low, and then disguising in-the-money
options to look like at-the-money options.                See id.     This is precisely
the conduct alleged by the superseding indictment.


Misapplication of APB 25
       The defendants argue that widespread misapplication of APB 25
proves the accounting rule is ambiguous. 5           After the Wall Street Journal
ran “The Perfect Payday” article, a number of public companies were
forced to restate their earnings, several corporate executives resigned,
and the SEC began investigating             the options granting practices of
various companies.       In re Openwave, 528 F. Supp. 2d at 242.                      By one
estimate, over 250 companies were implicated, in some fashion, by the
backdating scandal.       (Doc. 129, Ex. 4.)              Even within the St. Louis
metropolitan area, defendants argue, ESSI was not the only company
subject to federal investigation for fraudulent backdating.                        (Doc. 129,
Ex. 11.)
       None of this however, speaks to whether the superseding indictment
is   unconstitutionally     vague   as     applied     to    the     defendants       in    the
superseding indictment.      See Mazurie, 419 U.S. at 550.               In Mazurie, the
Supreme Court noted that vagueness challenges must be examined “in the
light of the facts of the case at hand.”           Id.      The facts surrounding the
options-granting practices of other corporations or the circumstances
of other federal investigations therefore provide no proof that the
superseding indictment is unconstitutionally vague as applied to these
defendants.


In re Sportsline.com




       5
      The defendants note that they are not                        making     a    selective
prosecution argument. (Doc. 148, Ex. 1 at 35.)

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     The defendants argue that the In re Sportsline.com case proves that
APB 25 is unconstitutionally vague.                In that case, the court found that
“the interpretations of the measurement date criteria embodied in APB
No. 25 are far from obvious,” and dismissed the lawsuit for failure to
state a claim.     In re Sportsline.com Sec. Litig., 366 F. Supp. 2d 1159,
1168-69, 1174 (S.D. Fla. 2004).
     In re Sportsline.com is distinguishable for several reasons.                        As
an initial matter, In re Sportsline.com involved a civil complaint
subject    to   the     heightened     pleading       requirements      of    the   Private
Securities Litigation Reform Act.             Id. at 1162.        Unlike the superseding
indictment,     the plaintiffs’ complaint alleged several violations of APB
25, but never alleged that the company’s officers and directors were
aware of the violations - only that they should have known about the
violations.     Id. at 1173.      Most importantly, In re Sportsline.com is not
a fraudulent backdating case; the case does not contain a single
reference to backdating.          See id.          In any event, the undersigned has
noted that the definition of measurement date may be unclear in some
situations.     But as noted above, for purposes of the conduct alleged in
the superseding indictment, APB 25 is sufficiently clear to survive the
motion to dismiss.
                                 IV.     RECOMMENDATION
     For the reasons set forth above,
     IT IS HEREBY RECOMMENDED that the motions of defendant Gary C.
Gerhardt to dismiss the indictment because of defects in the grand jury
proceedings     (Doc.    38)    and    to    dismiss       the   indictment   because    of
fundamental ambiguity in the underlying accounting pronouncements (Doc.
39) be denied.
     IT IS FURTHER RECOMMENDED that the joint motion of defendants
Michael F. Shanahan, Sr., Michael F. Shanahan, Jr., and Gary C. Gerhardt
to dismiss the superseding indictment because of fundamental ambiguity
in the underlying accounting pronouncements (Doc. 106) be denied.
     The    parties     are    advised      they    have    ten days to file written
objections to this Report and Recommendation.                      The failure to file
timely written objections may result in a waiver of the right to appeal
issues of fact.


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                                         /S/ David D. Noce
                                    UNITED STATES MAGISTRATE JUDGE

Signed on March 31, 2008.




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